                      Case 1:21-mj-00097-ZMF Document 1 Filed 01/17/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                              for the
                                                       District of &ROXPELD

                  United States of America                      )
                             v.                                 )
          WILLIAM WRIGHT WATSON                                 )       Case No.
                                                                )
                                                                )
         'DWHRI%LUWK;;;;;;;;
                                                                )
                                                                )
                          Defendant(s)


                                               CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                January 6, 2021               in the county of                              in the
                         LQWKH'LVWULFWRI   &ROXPELD , the defendant(s) violated:

             Code Section                                                 Offense Description

             18 USC 231(a)(3) Civil Disorders
             18 USC 1752(a), (b)(1)(A) Restricted Building or Grounds with a Deadly or Dangerous Weapon
             40 USC 5104(e)(2) Violent Entry or Disorderly Conduct




         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                           Complainant’s signature

                                                                                     Matthew Minshew, Agent
                                                                                           Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                        2021.01.17
Date:             01/17/2021
                                                                                                        16:56:22 -05'00'
                                                                                              Judge’s signature

City and state:      Washington D.C.                                            _Zia M. Faruqui, U.S. Magistrate Judge
                                                                                                                  _
                                                                                           Printed name and title
